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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

FRANKLIN DAVIS,                             §
                                            §
        Petitioner,                         §
                                            §
v.                                          §   No. 3:21-CV-02333
                                            §
BOBBY LUMPKIN, Director,                    §   DEATH PENALTY CASE
Texas Department of Criminal Justice,       §
Correctional Institutions Division,         §
                                            §
        Respondent.                         §


                  MOTION FOR APPOINTMENT OF COUNSEL


        Petitioner, Franklin Davis, by undersigned counsel, respectfully requests that

this Court appoint attorneys David Voisin, Katherine Froyen Black, and Stephen

Green to represent him under 18 U.S.C. § 3599(a)(2) for his federal habeas corpus

proceedings. In support of this request, Mr. Davis sets forth the following:

     1. In November 2013, Mr. Davis was convicted of capital murder and sentenced

        to death in Criminal District Court No. 7 in Dallas County, Texas. Davis v.

        State, 2016 WL 6520209, *1 (Tex. Crim. App. Nov. 2, 2016). The Texas Court

        of Criminal Appeals (“CCA”) affirmed the trial court’s judgment and sentence

        of death on November 2, 2016. Id.

     2. The Office of Capital and Forensic Writs (“OCFW”) represented Mr. Davis for

        his state post-conviction proceedings under Article 11.071 of the Texas Code of

        Criminal Procedure. “Based on [its] own review,” the CCA denied post-
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        conviction relief to Mr. Davis on September 15, 2021. Ex parte Davis, 2021 WL

        4186452, *2 (Tex. Crim. App. Sept. 15, 2021). The OCFW cannot represent Mr.

        Davis in his federal habeas proceedings. Tex. Gov’t Code § 78.054(b).

     3. This Court’s CJA Plan directs the Federal Public Defender for the Northern

        District of Texas (“FPD”) to file a motion for appointment of counsel no later

        than 15 days after the CCA denies state habeas relief to a death-sentenced

        individual. 1 § XIV.F.2. Jointly with the OCFW, the FPD did so on September

        30, 2021. Doc. 1. On October 6, 2021, this Court denied that motion without

        prejudice and directed the FPD “to file a new motion for appointment of counsel

        by October 27, 2021, and to recommend at least one attorney whom the FPD

        proposes to have appear on behalf of Davis in this cause who also qualifies as

        local counsel under Local Rule CV-83.10.” Doc. 3 at 3.

     4. Mr. Davis is entitled to the appointment of counsel under 18 U.S.C.

        § 3599(a)(2), which provides for the appointment of counsel for death-

        sentenced individuals for their federal post-conviction proceedings who are

        “financially unable to obtain adequate representation.” Mr. Davis qualifies for

        appointment of counsel under this provision. 2

     5. The United States Supreme Court has repeatedly recognized the need for

        qualified counsel for indigent, death-sentenced individuals pursuing federal

        habeas corpus remedies. Christeson v. Roper, 574 U.S. 373, 377 (2015); Martel


1 Alternatively, the CJA Plan states that the Federal Public Defender’s Office for the Western District
of Texas could submit this motion. § XIV.F.2.
2 If appointed by this Court, Mr. Voisin, Ms. Black, and Mr. Green will file a motion on behalf of Mr.

Davis to proceed in forma pauperis shortly after their appointment.


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    v. Clair, 565 U.S. 648, 657 (2012); McFarland v. Scott, 512 U.S. 849, 859 (1994).

    Capital federal habeas litigation requires specialized knowledge and

    experience. See, e.g., 18 U.S.C. § 3599(d) (acknowledging “the unique and

    complex nature of the litigation”); McFarland, 512 U.S. at 856–57 (noting that

    “this Court’s death penalty jurisprudence unquestionably is difficult even for a

    trained lawyer to master” (quoting Murray v. Giarratano, 492 U.S. 1, 28 (1989)

    (Stevens, J., dissenting))). Appointed counsel “should have distinguished prior

    experience in the area of federal post-conviction proceedings and in capital

    post-conviction proceedings.” CJA Plan, § XIV.F.8.

 6. Qualifications for counsel in federal capital habeas proceedings are established

    by 18 U.S.C. § 3599. Section 3599(d) permits a federal court to “appoint an[]

    attorney whose background, knowledge, or experience would otherwise enable

    him or her to properly represent the defendant.”

 7. Under this Court’s CJA Plan, when a petitioner seeks appointment of counsel

    in a capital § 2254 matter, “a judge should appoint the FPD, consistent with

    funding and staffing levels of the FPD related to these types of cases, when no

    conflict of interest exists.” § XIV.F.3.

 8. The FPD is unable to represent Mr. Davis due to a conflict of interest.

    Specifically, an attorney at the FPD represented Mr. Davis during his state

    habeas proceedings while previously employed by the OCFW. In capital federal

    habeas proceedings, petitioners frequently argue that cause exists to excuse

    the procedural default of ineffective assistance of trial counsel claims because




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    their state habeas counsel was ineffective for failing to raise those claims.

    Trevino v. Thaler, 569 U.S. 413 (2013). Here, if such a claim exists, a conflict

    of interest would develop based on the FPD attorney’s previous representation

    of Mr. Davis. Moreover, regardless of whether such a claim exists, the

    investigation into and decision about whether to pursue such a claim would

    require the FPD to evaluate its own attorney’s work—a scenario equally

    plagued by conflict, and a path that would be inappropriate to undertake.

 9. When the FPD is unable to accept appointment in a capital § 2254 case, “the

    judge should appoint other fully qualified counsel.” CJA Plan, § XIV.F.3. “Due

    to the complex, demanding, and protracted nature of death penalty

    proceedings, the judge should consider appointing at least two attorneys.” Id.

    at § XIV.F.4. Counsel need not be a member of this Court’s bar, as “[o]ut-of-

    district counsel . . . who possess the requisite expertise may be considered for

    appointment in capital § 2254 cases to achieve cost and other efficiencies

    together with high quality representation.” Id. at § XIV.F.6.

 10. When appointing counsel “the judge may consider the recommendation of the

    federal public defender who may consult with the National or Regional Habeas

    Assistance and Training Counsel projects.” CJA Plan, § XIV.F.5; see also Guide

    to Judiciary Policy, Vol. 7A, Ch. 2, Appx. 2A, § XIV.F.4 (“In appointing counsel

    in a capital § 2254 matter, judges should give due weight to the

    recommendations made by federal defenders and resource counsel and

    articulate reasons for not doing so.”). Texas Habeas Assistance and Training




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    Counsel Project (“TXHAT”) attorneys are “death penalty experts who may be

    relied upon by the court for assistance with selection and appointment of

    counsel[.]”See CJA Plan, § XIV.B.4.

 11. Consistent with the CJA Plan, the FPD has consulted with TXHAT regarding

    a recommendation for Mr. Davis’s federal habeas counsel.

 12. The FPD and TXHAT recommend that this Court appoint David Voisin,

    Katherine Froyen Black, and Stephen Green to represent Mr. Davis.

 13. Mr. Voisin, Ms. Black, and Mr. Green are willing to accept appointment to

    represent Mr. Davis. However, if this Court is not inclined to appointment all

    three attorneys to this case, they respectfully request that this Court appoint

    none of them.

 14. Mr. Voisin qualifies for appointment at minimum under § 3599(d). He has

    been representing death-sentenced inmates in federal habeas and state post-

    conviction proceedings since 1993. From 1993-2000, he was a staff attorney at

    the Center for Capital Litigation (formerly the South Carolina Death Penalty

    Resource Center) in Columbia, SC. He worked at the Mississippi Office of

    Capital Post-Conviction Counsel from 2000-2003 and has served as Regional

    Habeas Resource Counsel in Mississippi since 2004. He has represented death-

    sentenced prisoners in capital federal habeas corpus proceedings in South

    Carolina, Mississippi, Louisiana, Texas, and Indiana. He has spoken at

    numerous Continuing Legal Education seminars dedicated to capital

    representation. Mr. Voisin is admitted to the bar for the United States Court




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        of Appeals for the Fifth Circuit.

     15. Mr. Voisin’s curriculum vitae is attached as Exhibit 1.

     16. Consistent with this Court’s directive, the FPD requested from Mr. Voisin “a

        list of the cases in which he has served as lead counsel in previous capital

        habeas proceedings filed in other federal courts.” Doc. 3 at 2. Mr. Voisin has

        provided a list of cases attached at the end of Exhibit 1. In some instances, his

        prior appointments have not specified whether the appointment was as lead

        counsel. To ensure a complete list of appointments is provided to this Court,

        he has included all cases, even those which the appointment was not as lead

        counsel or not specified.

     17. Mr. Voisin’s contact information is: PO Box 804, Hammond, LA 70404; (601)

        949-9486 (office) or (601) 842-0332 (cell); david@dvoisinlaw.com.

     18. Ms. Black qualifies for appointment under § 3599(d). She has been

        representing death-sentenced inmates in federal habeas and state post-

        conviction proceedings since 2002. From 2002-2004, she represented clients in

        capital direct appeals as a Deputy State Public Defender at the Office of the

        State Public Defender in San Francisco, California. From 2004-2010, she was

        an Assistant Federal Public Defender in the Capital Habeas Unit at the Office

        of the Federal Public Defender for the Central District of California in Los

        Angeles, California. In 2017-2018, she represented death-sentenced prisoners

        in state post-conviction proceedings at the OCFW in Austin, Texas. 3 Since


3Although Ms. Black was employed by the OCFW from March 2017 until May 2018, she was not
assigned to Mr. Davis’ case, did not assist the attorneys assigned to his case with any work related to


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       September 2018, she has served as resource counsel to attorneys representing

       death-sentenced federal habeas petitioners in Texas through TXHAT.

   19. Ms. Black’s curriculum vitae is attached as Exhibit 2.

   20. Ms. Black’s prior capital post-conviction experience was with institutional

       offices, so she has not previously been appointed by federal courts in her

       individual capacity.

   21. Ms. Black’s contact information is: 205 Blue Ridge Trail, Austin, Texas 78746;

       (415) 847-6127 (cell); kfroyen@gmail.com. 4

   22. Local Rule 83.10 requires local counsel for all cases unless leave is granted

       from the presiding judge.

   23. While he has no prior capital federal habeas experience, Mr. Green is well

       qualified to serve as local counsel in this matter. He served as a law clerk for

       two years to the Honorable Marcia Crone, United States District Judge for the

       Eastern District of Texas. Following that, Mr. Green worked for nearly six

       years as an Assistant Federal Public Defender for the Northern District of

       Texas. He entered private practice in May of this year, where he continues to

       represent indigent defendants in this district.

   24. Mr. Green’s curriculum vitae is attached as Exhibit 3.

   25. Mr. Green’s contact information is: 8150 N. Central Expy., Suite M2070,


his post-conviction proceedings, or acquire any confidential information about Mr. Davis’ case while
she was employed there. Thus, the potential conflict of interest that prevents the FPD from
representing Mr. Davis in federal habeas proceedings does not prevent Ms. Black from seeking
appointment in this case.
4 This Court noted that the State bar website lists Ms. Black’s office address in Houston. Doc. 3 at 2.

As noted in the initial motion, Ms. Black is located in Austin. Her Texas bar number is 24099910.
There is a different Katherine Black admitted to the Texas bar with a Houston address.


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      Dallas, Texas 75206; (214) 600-7255; stephen@stephengreenlaw.com.

   26. The FPD recognizes that a request to appoint three attorneys is atypical.

      However, it is justified in this matter. Mr. Voisin and Ms. Black are highly

      experienced capital post-conviction attorneys able to ensure that Mr. Davis

      receives the quality representation that he is entitled to under § 3599.

      Appointing Mr. Green as local counsel in this matter will satisfy the

      requirements of Local Rule 83.10 and expand the pool of attorneys in this

      district qualified and capable of handling these cases in the future. It will

      provide Mr. Green an opportunity to litigate a capital federal habeas case

      alongside two veteran attorneys in the field, which will create the possibility

      of him handling a similar case in a more central role in the future.

   27. Mr. Voisin and Ms. Black will file motions to appear pro hac vice in this case

      upon appointment.

      For these reasons, Mr. Davis requests that this Court appoint attorneys David

Voisin, Katherine Black, and Stephen Green to represent him in federal habeas

corpus proceedings under 18 U.S.C. § 3599(a)(2).

Respectfully submitted,

JASON D. HAWKINS
Federal Public Defender

/s/ Jeremy Schepers
Jeremy Schepers (TX 24084578)
Supervisor, Capital Habeas Unit

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                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was served on
Cara Hanna, Assistant Attorney General, Office of the Texas Attorney General via
electronic mail at cara.hanna@oag.texas.gov.

                               /s/ Jeremy Schepers
                               Jeremy Schepers




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